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 2   TAYLOR G. SELIM
     Nevada Bar No. 12091
 3   HARPER | SELIM
     1935 Village Center Circle
 4   Las Vegas, Nevada 89134
     Phone: (702) 948-9240
 5   Fax: (702) 778-6600
     Email: eservice@harperselim.com
 6   Attorneys for Defendant Flournoy Management, LLC

 7                                UNITED STATES DISTRICT COURT

 8                                      DISTRICT OF NEVADA

 9    NAUTILUS INSURANCE COMPANY,                      CASE NO.:    2:15-cv-00321-JAD-GWF

10                  Plaintiff,                         MOTION AND PROPOSED ORDER TO
                                                       WITHDRAW AS COUNSEL OF RECORD
11    vs.

13    ACCESS MEDICAL, LLC; ROBERT
      CLARK WOOD, II; FLOURNOY
14    MANAGEMENT, LLC; and DOES 1-10,
      inclusive,
15
                    Defendants.
16
17          JAMES E. HARPER, ESQ. and TAYLOR G. SELIM, ESQ., respectfully move this court for

18   an order permitting James E. Harper, Esq. and Taylor G. Selim, Esq. (Counsel) to withdraw as

19   counsel for Defendant, FLOURNOY MANAGEMENT, LLC, in the above-entitled matter.

20   ///

21   ///

22   ///

23   ///

24   ///

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26   ///

27   ///

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 1          This Motion is made and based upon the Memorandum of Points and Authorities submitted

 2   herewith, Local Rule IA 11-6(b) and (e), the Declaration of James E. Harper, Esq. attached hereto,

 3   and the pleadings and papers on file herein.

 4          DATED this 20th day of October 2021.

 5                                                        HARPER | SELIM

 6
 7                                                        ________________________________
                                                          JAMES E. HARPER
 8                                                        Nevada Bar No. 9822
                                                          TAYLOR G. SELIM
 9                                                        Nevada Bar No. 12091
                                                          1935 Village Center Circle
10                                                        Las Vegas, NV 89134
                                                          Attorneys for Defendant Flournoy Management,
11                                                        LLC

13
                             DECLARATION OF JAMES E. HARPER, ESQ.
14
            I, James E. Harper, pursuant to NRS 53.045, declare under penalty of perjury as follows:
15
        1. I am knowledgeable about all matters set forth in this Declaration and know them to be true,
16
            except where stated upon information and belief, and in those instances I believe them to be
17
            true.
18
        2. I am an attorney duly licensed to practice law in the State of Nevada, and I was retained by
19
            Defendant Flournoy Management, LLC (“Flournoy”) regarding this matter.
20
        3. Flournoy retained my law firm in this action and in so provided a retainer to be drawn down
21
            as Counsel performed work on behalf of Flournoy in this case.
22
        4. Counsel has exhausted the retainer provided by Flournoy and Counsel has not been paid for
23
            its most recent work on behalf of Flournoy.
24
        5. I understand and believe that Flournoy is in dissolution, per the Curt’s Order in the
25
            underlying California litigation.
26
        6. There are no upcoming or outstanding hearings or discovery deadlines that would result in
27
            delay if Counsel were permitted to withdraw.
28


                                                     2
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 1      7. Requiring Counsel to continue representing Flournoy without financial compensation would

 2            result in an unreasonable burden on Counsel.

 3      8. The last known address for Flournoy is: Flournoy Management, LLC, 8550 W. Charleston

 4            Blvd., Suite 102-355, Las Vegas, Nevada 89117.

 5      9. The current motion is brought in good faith and not for any nefarious purpose or for delay.

 6            I declare under penalty of perjury is true and correct.

 7            DATED this 20th day of October, 2021.

 8
 9                                                          ____________________________
                                                                  James E. Harper
10
11                          MEMORANDUM OF POINTS AND AUTHORITIES

13            The United States District Court Local Rules IA 11-6 provides that an attorney may

14   withdraw from representation of a client under certain circumstances. Specifically, Local Rule IA

15   11-6(b) states:

16                   If an attorney seeks to withdraw after appearing in a case, the attorney
                     must file a motion or stipulation and serve it on the affected client and
17                   opposing counsel. The affected client may, but is not required to, file a
                     response to the attorney’s motion within 14 days of the filing of the
18                   motion, unless the court orders otherwise.

19            Local Rule IA 11-6(e) further provides: “Except for good cause shown, no withdrawal or

20   substitution will be approved if it will result in delay of discovery, the trial, or any hearing in the

21   case.”

22            Good cause exists to allow Counsel for Flournoy Management to withdraw as attorneys of

23   record in this case as outlined in the Declaration of James E. Harper, Esq. Counsel has exhausted

24   the retainer originally provided by Flournoy and Counsel’s recent invoices have not been paid.

25   Furthermore, Counsel understands and believes that Flournoy is in dissolution, per the Court’s

26   Order in the underlying California litigation.

27            This Motion should be granted because requiring Counsel to continue representing Flournoy

28   without compensation would result in an unreasonable burden on Counsel. Additionally, Counsel’s


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 1   withdrawal would not result in any delay to Flournoy or the other parties in this case, as there are no

 2   pending discovery deadlines or hearings scheduled.

 3                                             CONCLUSION

 4         Based on the foregoing, James E. Harper and Taylor G. Selim respectfully request that this

 5   Court GRANT their motion to withdraw as counsel for Defendant Flournoy Management, LLC.

 6         DATED this 20th day of October 2021.

 7                                                        HARPER | SELIM

 8
 9                                                        ________________________________
                                                          JAMES E. HARPER
10                                                        Nevada Bar No. 9822
                                                          TAYLOR G. SELIM
11                                                        Nevada Bar No. 12091
                                                          1935 Village Center Circle
13                                                        Las Vegas, NV 89134
                                                          Attorneys for Defendant Flournoy Management,
14                                                        LLC

15
16                                                 ORDER

17         IT IS SO ORDERED:

18
19                                                        ______________________________________
                                                          UNITED STATES DISTRICT COURT JUDGE
20
                                          Order
21
                         IT IS ORDERED that ECF No. 156 is GRANTED.
22
                         IT IS FURTHER ORDERED that the Clerk of Court
23                       is directed to update Flournoy Management, LLC's
24                       address to
                                  8550 W. Charleston Blvd, Suite 102-355
25                                Las Vegas, NV 89117.

26                       IT IS FURTHER ORDERED that Flournoy
27                       Management, LLC must retain counsel and file a
                         notice of appearance by 12/3/2021, as corporations
28                       cannot proceed pro se.
                                                          IT IS SO ORDERED
                                                          DATED: 9:42 am, October 22, 2021



                                                     4    BRENDA WEKSLER
                                                          UNITED STATES MAGISTRATE JUDGE
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 1                                    CERTIFICATE OF SERVICE

 2          Pursuant to Rule 5(b) of the Federal Rules of Civil Procedure, I hereby certify under penalty

 3   of perjury that I am an employee of HARPER | SELIM and that on the 20th day of October 2021, the

 4   foregoing MOTION AND PROPOSED ORDER TO WITHDRAW AS COUNSEL OF

 5   RECORD was served upon the parties via the Court’s e-Filing and service program, addressed as

 6   follows:

 7                                     MARTIN J. KRAVITZ, ESQ.
                                        L. RENEE GREEN, ESQ.
 8                                       KRAVITZ, SCHNITZER
                                          & JOHNSON, CHTD.
 9                                8985 South Eastern Avenue, Suite 200
                                        Las Vegas, Nevada 89123
10                          Attorneys for Defendants Access Medical, LLC and
                                          Robert Clark Wood, II
11
                                     JORDAN P. SCHNITZER, ESQ.
13                                    THE SCHNITZER LAW FIRM
                                      9205 W. Russell Road, Suite 240
14                                        Las Vegas, Nevada 89148
                            Attorneys for Defendants Access Medical, LLC and
15                                         Robert Clark Wood, II
16                                      Galina Kletser Jakobson, Esq.
17                                           Linda W. Hsu, Esq.
                                             Quyen Thi Le, Esq.
18                                      SELMAN BREITMAN LLP
                                      33 New Montgomery, 6th Floor
19                                    San Francisco, CA 94105-4537
                             Attorneys for Plaintiff Nautilus Insurance Company
20
21   was served upon those persons by placing a true copy in a sealed envelope with the United States

22   Postal Service addressed as follows:

23                                     Flournoy Management, LLC
                                  8550 W. Charleston Blvd., Suite 102-355
24                                        Las Vegas, NV 89117

25
26
                             _________________________________________
27                                         An Employee of
                                          HARPER | SELIM
28


                                                    5
